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                                                                           Friday, 01 May, 2020 03:08:01 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               ROCK ISLAND DIVISION

SISAWAT SINGMUONGTHONG,                             )
                                                    )
                        Plaintiff,                  )
                                                    )
        v.                                          )          No. 18-4196-SLD-JEH
                                                    )
ILLINOIS DEPARTMENT OF                              )
CORRECTIONS, EDWIN R. BOWEN,                        )
and JOHN BALDWIN,                                   )
                                                    )
                        Defendants.                 )

      JOINT MOTION TO AMEND DISCOVERY PLAN AND TRIAL SCHEDULE

        NOW COME the Plaintiff, SISAWAT SINGMUONGTHONG, by and through his

attorney, Jaclyn N. Diaz of Ed Fox & Associates, Ltd., and Defendants, EDWIN R. BOWEN and

JOHN BALDWIN, by and through their attorney, Kwame Raoul, Attorney General for the State

of Illinois, and jointly move this honorable Court to amend the Discovery Plan and trial schedule

in this action. In support, the parties state the following:

        1. On June 14, 2019, the parties submitted a proposed Discovery Plan [Doc. 25], which the

Court adopted on June 17, 2019, by text order. [Doc. 26.]

        2. On November 1, 2019, the parties jointly moved to amend the Discovery Plan [Doc. 32],

which the Court granted on November 4, 2019, by text order.

        3. Under the existing schedule, the parties were to complete all discovery by May 1, 2020,

and to file dispositive motions by June 19, 2020. A jury trial is set in this action for October 26,

2020, with the final pretrial on September 16, 2020.

        4. Since the Court granted the prior motion to amend the discovery plan, initial disclosures

were served, and the parties conducted written discovery.



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       5. However, before the parties took any depositions in this action, the COVID-19 pandemic

intervened, and the practices of both Plaintiff and Defendants’ counsel were substantially

disrupted.

       6. On March 23, 2020, the Office of the Attorney General locked attorneys and staff out of

its Montvale office building in Springfield after a young Assistant Attorney General screened

positive for COVID-19. (She has since visited the emergency room twice and is struggling to

recover.) Attorneys and staff originally were told the Montvale office would be closed for one

week to decontaminate it, but the facility remains locked down to this day. Because of the short

notice of the closure, attorneys did not retrieve all electronic and hard copy files from their

Montvale offices to allow them to work on their cases from home. Further, since the lockout,

attorneys have had little assistance from support staff and have been working from home on their

own computer equipment and with varying degrees of remote access to their computer network.

       7. Plaintiff’s counsel likewise has faced significant obstacles due to the COVID-19 crisis.

Counsel’s law firm did not have a remote-access system in place prior to the Governor’s shelter-

in-place orders, which impeded her ability to keep up with her current caseload. Additionally,

counsel’s legal assistant was furloughed at the start of the shelter-in-place orders, and thus

Plaintiff’s counsel has not had the assistance of any support staff, which has made working

remotely a challenge.

       8. In light of these and other disruptions arising in connection with the COVID-19

pandemic, the parties jointly move to amend the existing schedule by extending the remaining

deadlines by approximately 120 days. Specifically, the parties seek to move the deadline for the

close of all discovery from May 1, 2020, to September 1, 2020, which will allow them to take the

depositions necessary to adequately prepare their cases for trial. Further, the parties seek to move



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the dispositive motion deadline from June 19, 2020, to October 16, 2020, to provide sufficient time

to obtain deposition transcripts and draft summary judgment or other such motions. Finally, the

parties also seek to continue the final pretrial conference and jury trial by approximately 120 days,

both to provide sufficient time for the Court to consider any dispositive motions and responses as

well as to allow the parties and their counsel to adequately prepare for trial.



        WHEREFORE, Plaintiff, SISAWAT SINGMUONGTHONG, and Defendants, EDWIN

R. BOWEN and JOHN BALDWIN, jointly move this honorable Court to amend the existing

Discovery Plan to extend the deadlines for the close of all discovery and for dispositive motions

by approximately 120 days and to continue by approximately 120 days the final pretrial conference

and jury trial.



Respectfully submitted,

SISAWAT SINGMUONGTHONG,                        EDWIN R. BOWEN and JOHN BALDWIN,

        Plaintiff,                                     Defendants,

JACLYN N. DIAZ,                                KWAME RAOUL, Attorney General,
                                               State of Illinois,
        Attorney for Plaintiff,
                                                       Attorney for Defendants,
By:     s/Jaclyn N. Diaz (w/ consent)
        Ed Fox & Associates, Ltd.              By:     s/Scott B. Sievers
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              ROCK ISLAND DIVISION

SISAWAT SINGMUONGTHONG,                            )
                                                   )
                      Plaintiff,                   )
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       v.                                          )           No. 18-4196-SLD-JEH
                                                   )
ILLINOIS DEPARTMENT OF                             )
CORRECTIONS, EDWIN R. BOWEN,                       )
and JOHN BALDWIN,                                  )
                                                   )
                      Defendants.                  )

                                   CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2020, the foregoing document, Joint Motion to Amend

Discovery Plan and Trial Schedule, was electronically filed with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to the following:

       Edward M. Fox                                           Jaclyn N. Diaz
       Ed Fox & Associates, Ltd.                               Ed Fox & Associates, Ltd.
       300 West Adams Street,                                  300 West Adams Street,
       Suite 330                                               Suite 330
       Chicago, IL 60606                                       Chicago, IL 60606
       efox@efox-law.com                                       jdiaz@efoxlaw.com

and I hereby certify that on May 1, 2020, I mailed by United States Postal Service the

document(s) to the following non-registered participants:

               NONE.
                                                       Respectfully submitted,

                                             By:        s/Scott B. Sievers
                                                        Scott B. Sievers #6275924
                                                        Assistant Attorney General
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